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                        United States District Court
                            SOUTHERN DISTRICT OF CALIFORNIA


Aton Center, Inc. a California corporation
                                                            Civil Action No. 20-cv-00541-WQH-BGS

                                               Plaintiff,
                                       V.
Carefirst Bluecross Blueshield a                             JUDGMENT IN A CIVIL CASE
corporation; Does 1 through 10, Inclusive


                                             Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
Motion to Dismiss filed by Defendants CareFirst of Maryland, Inc., d/b/a CareFirst BlueCross
BlueShield; Group Hospital and Medical Services, Inc., d/b/a CareFirst BlueCross BlueShield; and
CareFirst BlueChoice, Inc., d/b/a CareFirst BlueCross BlueShield (all erroneously sued as CareFirst
BlueCross BlueShield) (ECF No. 6) is GRANTED. The case is dismissed without prejudice.




Date:          8/4/20                                         CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ M. Exler
                                                                                     M. Exler, Deputy
